Case 6:20-cv-00965-RRS-PJH Document 1-9 Filed 07/29/20 Page 1of1PagelID#: 88

JS 44 (Rev. 09/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fi
provided by local rules of court. This form, approved by the Judicial Conference of the United States
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS F' ORM.)

I.

910 E MAIN LLC D/B/A QUARTER TAV
CJD II LLC D/B/A TWISTED TAVERN;
ENTERPRISES INC. D/B/A 501; EMERALD BILLIARDS, L.L.C.; ET AL.

(a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

CIVIL COVER SHEET

ERN; BUBBA'S SALOON, LLC;
DOUG MCCARTHY

(c) Attorneys (Firm Name, Address, and Telephone Number)

JIMMY R. FAIRCLOTH, JR.
FAIRCLOTH MELTON SOBEL & BASH, LLC
105 YORKTOWN DRIVE ALEXANDRIA, LA 71303 (318) 619-7755

DEFENDANTS

NOTE:

Attorneys (If Known)

 

ling and service of pleadings or other papers as required by law, except as
in September 1974, is required for the use of the Clerk of Court for the

JOHN BEL EDWARDS, IN HIS OFFICIAL CAPACITY AS
GOVERNOR OF THE STATE OF LOUISIANA; AND H "BUTCH"
BROWNING, JR., IN HIS OFFICIAL CAPACITY AS FIRE MARSHAL

County of Residence of First Listed Defendant EAST BATON ROUGE

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

 

 

 

 

 

 

 

 

 

(For Diversity Cases Only) and One Box for Defendant)
0 1 US. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State qo1 © 1 Incorporated or Principal Place go4 04
of Business In This State
O 2 US. Government O04 Diversity Citizen of Another State O 2 OG 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a G3 O 3. Foreign Nation go6 O6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY  |( 625 Drug Related Seizure © 422 Appeal 28 USC 158 OC 375 False Claims Act
O 120 Marine O 310 Airplane C1 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 1 376 Qui Tam (31 USC
CO 130 Miller Act G 315 Airplane Product Product Liability OG 690 Other 28 USC 157 3729(a))
C1 140 Negotiable Instrument Liability 0 367 Health Care/ O 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaccutical PROPERTY RIGHTS CO 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights © 430 Banks and Banking
0 151 Medicare Act C1 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commerce
0 152 Recovery of Defaulted Liability CO 368 Asbestos Personal © 835 Patent - Abbreviated GC 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
GC 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY C480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) (15 USC 1681 or 1692)
C1 160 Stockholders’ Suits 0 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) CG 485 Telephone Consumer
© 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations C1 864 SSID Title XVI 0 490 Cable/Sat TV
O 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act 0 865 RSI (405(g)) O 850 Sccurities/Commodities/
© 362 Personal Injury - Product Liability O 751 Family and Medical Exchange
Medical Malpractice Leave Act 1 890 Other Statutory Actions
I REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|(0 790 Other Labor Litigation FEDERAL TAX SUITS O 891 Agricultural Acts
OG 210 Land Condemnation (& 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff C1 893 Environmental Matters
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Sccurity Act or Defendant) 0 895 Freedom of Information
CO 230 Rent Lease & Ejectment G 442 Employment CO 510 Motions to Vacate Act

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240 Torts to Land
245 Tort Product Liability
290 All Other Real Property

 

CO 443 Housing/
Accommodations

C1 445 Amer. w/Disabilities -
Employment

Cl 446 Amer. w/Disabilities -
Other

©) 448 Education

 

Sentence

O 530 General

1 535 Death Penalty

Other:

© 540 Mandamus & Other

GO 550 Civil Rights

0 555 Prison Condition

0 560 Civil Detainee -
Conditions of

 

IMMIGRATION

 

 

O 462 Naturalization Application
© 465 Other Immigration
Actions

 

© 871 IRS—Third Party
26 USC 7609

O 896 Arbitration

0 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

C1 950 Constitutionality of
State Statutes

 

 

Confinement
V. ORIGIN (Place an “X” in One Box Only)
1 Original 112 Removed from O 3° Remanded from O 4 Reinstatedor 5 Transferred from 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Gis fhe VE Kid Siarate under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

Brief description of : ..
Violations of US Constitution, Louisiana Constitution and Louisiana State Statutes

 

 

 

 

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: Yes ONo
VII. RELATED CASE(S) ;
IF ANY (See instructions): JUDGE fe DOCKET NUMBER
\
DATE s on
07/29/2020
FOR OFFICE USE ONLY 4 SS
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
